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                       UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF MISSOURI
                             EASTERN DIVISION

ASSOCIATED MANAGEMENT                )
SERVICES, INC.,                      )
                                     )   No. 4:19-cv-01841-JAR
Plaintiff,                           )
                                     )
v.                                   )
                                     )
CAPSTAN HEALTHCARE,                  )
LLC d/b/a CAPSTAN RX, et             )
al.,                                 )
                                     )
       Defendants.                   )

     MEMORANDUM IN SUPPORT OF PLAINTIFF’S MOTION FOR REMAND

       Plaintiff   Associated   Management    Services,   Inc.   (AMS),   submits   this

Memorandum in Support of Plaintiff’s Motion for Remand. (Doc. 22.)

I.     FACTS

       On January 1, 2019, AMS filed this junk-fax class action in state court in the

Eleventh Judicial Circuit in St. Charles County. Originally, AMS named two defendants:

Defendant Capstan Healthcare, LLC d/b/a Capstan Rx and Defendant Syed Haroon

Zulfiqar d/b/a Capstan Rx. With leave of court, AMS filed its Amended Class Action

Junk-Fax Petition, adding Defendant North G Rx, LLC d/b/a Capstan Rx as party.

(Doc. 8.)

       On June 26, 2019, North G Rx, LLC, with consent of Defendants Capstan

Healthcare, LLC and Zulfiqar (Doc. 1 at 3), removed the action to this Court. In its

notice of removal, North G Rx, LLC, cited two out-of-circuit cases where motions to

remand cases were denied. (Id.) North G Rx, LLC, also cited two TCPA cases within

this district were remand motions were denied. (Id. (citing Heller v. HRB Tax Group,

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Inc., No. 4:11CV1121, 2012 WL 163842 (E.D.Mo. Jan. 19, 2012); Nack v. Walburg, No.

4:10CV00478 AGF, 2011 WL 310249, at *4 n.2 (E.D. Mo. Jan. 28, 2011), rev’d and

remanded, 715 F.3d 680 (8th Cir. 2013).)

        After removal, Defendants jointly filed Defendants’ Answer to Amended Class

Action Junk-Fax Petition and pleaded numerous affirmative defenses, including the

following that concern jurisdiction:

        1. Plaintiff and/or the putative class members lack standing because they did not

suffer con[crete]1 and particularized harm, subjecting their claims to dismissal under

Federal Rules of Civil Procedure, Rule 12(b)(1).



        2. Plaintiff and/or the putative class members lack standing because they did not

suffer con[crete] and particularized harm, receive the alleged faxes, subjecting their

claims to dismissal under Federal Rules of Civil Procedure, Rule 12(b)(1).



(Doc. 14 at 4.)

        In addition, in their joint answer to AMS’s amended pleading, Defendants all

denied that “[t]he transmissions of facsimile advertisements, including the Fax, to

Plaintiff and the Class caused concrete and personalized injury.” (Doc. 8 at 7 ¶ 31; Doc.

14 at 3 ¶ 31.)




1 Defendants used the word “contract,” but that appears to have been in error, because
this action does not concern a contract and “concrete and particularized” harm is the
relevant standard, not “contract” injury or harm. See Spokeo, Inc. v. Robins, 136 S. Ct.
1540, 1548 (2016), as revised (May 24, 2016) (“To establish injury in fact, a plaintiff
must show that he or she suffered ‘an invasion of a legally protected interest’ that is
‘concrete and particularized’ and ‘actual or imminent, not conjectural or hypothetical.’”).

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II.       DISCUSSION

       ‘“Removal statutes are strictly construed, and any doubts about the propriety of

removal are resolved in favor of state court jurisdiction and remand.’”           Czapla v.

Republic Servs., Inc., 372 F. Supp. 3d 878, 880 (E.D. Mo. 2019) (quoting Madderra v.

Merck Sharpe & Dohme Corp., No. 4:11CV1673, 2012 WL 601012, at *1 (E.D. Mo. Feb.

23, 2012)); accord In re Prempro Prod. Liab. Litig., 591 F.3d 613, 620 (8th Cir. 2010)

(“All doubts about federal jurisdiction should be resolved in favor of remand to state

court.”); Wilkinson v. Shackelford, 478 F.3d 957, 963 (8th Cir. 2007) (same); Transit

Cas. Co. v. Certain Underwriters at Lloyd’s of London, 119 F.3d 619, 625 (8th Cir. 1997)

(same).

       It was only after the 2012 decision by the United States Supreme Court in Mims

v. Arrow Financial Services, LLC, 565 U.S. 368 (2012), that federal courts regularly

asserted concurrent jurisdiction with state courts over TCPA cases. Before Mims, TCPA

cases were commonly filed in state courts, not federal courts.           See, e.g., All Am.

Painting, LLC v. Fin. Solutions & Assocs., Inc., 315 S.W.3d 719 (Mo. banc 2010); Harjoe

v. Herz Fin., 108 S.W.3d 653 (Mo. banc 2003); Karen S. Little, L.L.C. v. Drury Inns,

Inc., 306 S.W.3d 577 (Mo. Ct. App. E.D. 2010).

       All of the cases cited in Defendant North G Rx, LLC’s notice of removal predated

the Eighth Circuit Court of Appeals’s decision in St. Louis Heart Center, Inc. v. Nomax,

899 F.3d 500 (8th Cir. 2018), cert. denied, 139 S.Ct. 11908 (2019).              Remand is

compelled by the Eighth Circuit’s recent decision in Nomax.

       Nomax was a TCPA junk-fax case initially filed in state court. Id. at 501-02. The

defendant removed the case to federal court, and then moved to dismiss the complaint

for lack of Article III standing. Id. at 502. The district court ruled, based on the facts of

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that case, that the plaintiff lacked standing and then the court dismissed the action with

prejudice. Id. at 503.

        On appeal, the Eighth Circuit agreed with the district court that, based on the

facts of that case,2 Article III standing was lacking; however, the Eighth Circuit

concluded that the proper disposition was not dismissal but rather remand to the state

court under 28 U.S.C. § 1447(c). Id. at 503. The Eighth Circuit therefore vacated the

judgment of dismissal and remand with instructions to return the case to state court,

noting that “state courts are not bound by the limitations of an Article III case or

controversy.” Id. at 505; see U.S. Const. art. III § 2 cl. 1.

        AMS is not arguing that federal courts cannot have Article III standing over TCPA

cases but rather that Defendants should not be able to invoke federal subject matter

jurisdiction in a particular TCPA case and then take the inconsistent position that the

claims against them should be dismissed for lack of subject matter jurisdiction. As this

Court has recognized, any doubt should be resolved in favor of remand. See Czapla, 372

F. Supp. 3d at 880; Beaton v. Rent-A-Center, Inc., 312 F. Supp. 3d 772, 775 (E.D.Mo.

2018). Given Defendants’ position that AMS and the Class lack Article III standing,

Defendants should have left the case to be resolved where it was filed—in state court.

Remand is warranted.

        WHEREFORE, Plaintiff Associated Management Services, Inc., seeks an order of

remand.




2 St. Louis Heart Center’s definition of the class identified in the complaint included
those individuals who did consent to receive the challenged faxes. Id. at 502, 504.
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